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                        Keith Krach on Fox Business: Microsoft Potential Purchase of TikTok
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           Microsoft Potential Purchase of TikTok
           KEITH KRACH, UNDER SECRETARY FOR ECONOMIC GROWTH, ENERGY AND THE ENVIRONMENT

           Source: Fox Business                    Interviewer: Liz Claman

           AUGUST 21, 2020

           Liz Claman: Microsoft charging higher in this final hour of trade. We’re looking at gains of two point
           three percent. Microsoft is adding 30 points to the Dow Jones Industrials at this hour as investors
           appear to applaud the news we broke right here on Fox Business yesterday. ByteDance sources are
           telling us that Microsoft will be, “the white knight” to seal an acquisition deal with TikTok, the wildly
           popular social media app. Sources tell us that a signed deal to buy the U.S. assets of the Chinese
           owned TikTok company will be done by the September 15th deadline that President Trump imposed.
           But will a signed deal, whether with Microsoft or another suitor, save TikTok from getting banned in
           the U.S.? We now turn to a man intimately involved with the administration’s potential bans of both


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           TikTok and Tencent’s WeChat, U.S. Undersecretary of State for Economic Growth, Keith Krach joins
           us exclusively from the White House. Mr. Under Secretary, thank you so much for joining us. Let me
           get right to the point about this. If Microsoft or Oracle or some other dark horse does get a signed and
           binding deal to buy TikTok’s U.S. assets by September 15th, will the administration accept that?

           Keith Krach: Well, Liz, it’s great to be back on your show. That final decision is up to the president.
           Obviously, it’s a race against the clock. And, you know, it’s about more than just two companies,
           TikTok and WeChat. What it’s really about is three things. It’s about the Communist Party’s
           surveillance state and 5G is the backbone. These apps are appendages, as well as clouds. And so
           it’s also about that great China firewall where all data can go in, but none come out. And then all the
           propaganda come out. But the truth cannot come back in. And it’s also about reciprocity, because our
           apps aren’t allowed in China. You know, you look at YouTube or Google search. So this is part of a
           comprehensive effort that Secretary Pompeo recently announced called the Clean Network. And he
           announced the expansion of that with the launch of five new clean initiatives. So Clean Apps is one of
           them. Clean Store, Clean Cloud, Clean Carrier and Clean Cable — underwater cable.

           Liz Claman: OK, well, what are the key issues that you’re looking for in terms of approving? Again,
           my sources are telling us here at Fox Business it’s Microsoft. So if Microsoft were to come and say,
           look, we’ve got a binding signed deal, what are you going to sift through and look specifically for to
           say, OK, that’ll do it?

           Keith Krach: Well, I think always the most important thing, Liz, you know, after spending 30 years in
           Silicon Valley, it’s about the people. So you’ve got to make sure that it’s Americans that are running
           the show. And then the second one is the data — to make sure that’s not going back to Beijing
           because they can take advantage of their National Intelligence Act, that requires them to turn over
           any data. And then the third thing is in terms of any algorithms and those kind of things. And these
           are complicated deals to put together. No doubt it’s going to be a challenge to beat that clock.

           Liz Claman: You’re a Silicon Valley guy. Yes, you founded Ariba Networks. You’re the CEO,
           formerly of DocuSign. You know how these deals go, though. If Microsoft or whoever were to present
           this one sheet deal but asks for more time to actually close because, as you say, it is technically very
           tough to sort of surgically separate an appendage or an arm of a company. How long an extension is
           the administration willing to grant?

           Keith Krach: By the way, here again. That’s a decision for the president. And, you know, in my
           past, I’ve been courted by Microsoft in terms of acquiring one of our companies. And I would say it
           does not happen overnight. There’s so much due diligence that has to be done. Now, you know, I
           mean, Microsoft and other suitors that they’re talking about are highly capable of accelerating it. But
           it’s going to be a challenge for anyone, Liz.

           Liz Claman: President Trump did express support for Oracle as a buyer. Chairman Larry Ellison is a



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           political supporter of his, but the president also said weeks ago he’s fine with Microsoft, too. What’s
           his preference between the two?

           Keith Krach: Well, I don’t really know, to be gosh darn honest with you, but these are two great
           American companies. No question about it. And they’re some of the most powerful software
           companies in the world and particularly in the enterprise area. So this would be a new foray for
           Oracle in the consumer space.

           Liz Claman: I want to get to the national security part of this. He said he will ban the app due to
           national security concerns, but he didn’t really present any specific evidence of violations. Can you
           give us at least some of the evidence that’s out there about TikTok?

           Keith Krach: Well, you know, I think if you look at all these companies, they have members of the
           People’s Liberation Army embedded inside of these companies and their loyalty is to the Communist
           Party.

           Liz Claman: Well, I mean, Facebook, if you’re talking about embedded, you’ve got Facebook bots,
           Chinese bots, Russian bots in a lot of these companies.

           Keith Krach: I’m talking about people themselves embedded in it. In ByteDance or in also in
           WeChat for sure. Pony Ma, from WeChat has been very vocal. At the Communist Party’s National
           Congress, he stood up and he said, “Hey, we’ve got to control the Internet.” So these guys, not only
           do they have to turn over that data to the Chinese Communist Party, but they also censor anything
           that has to do with Xinjiang, Hong Kong, all of that. And they have been doing it for years.

           Liz Claman: Beyond an app that’s popular with teens and the Gen-Z’ers dancing and showing their
           animals, the amount of data — so this is much bigger than TikTok, at least that’s what I’m hearing —
           the amount of data China’s already buying from data brokers out there is huge. So why is this fairly
           small but high profile, TikTok transaction the president’s focus. And will the issue be more widely
           addressed?

           Keith Krach: Well, yes, absolutely. It will be more widely addressed. And that’s why we announced
           the expansion of the Clean Network.

           And now this is a comprehensive approach to protecting people’s privacy. Businesses’ most sought
           after intellectual property and also to guard trusted collaboration. So this is much broader than these
           companies. And I think you’ll see some other things that will be becoming out in the future along
           these lines. These these happen to be the first two in addition to Huawei, of course. So this is a
           comprehensive approach. And this is all about the Communist Party extending that the great one-way
           China firewall right over here in the United States. And they have gobs and gobs of data that they just
           soak up and they have their AI algorithms being able to do all kinds of things. For example, with the
           credit social scores, which in essence quantifies how loyal you are to the Communist Party. So they



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           could do a social credit score on a citizen in the United States and see. Well, how likely are they to be
           an ally of the Chinese Communist Party? Yes, it’s just an example, and it’s really scary, and I’ll never
           forget when I was over there three years ago at the Global Leaders Summit and everybody was
           saying every other, you know, between every session, “Hey, download Tencent.” “Download
           Tencent.” And it just occurred to me, “I’m not downloading Tencent!” I mean, they’re all over you.
           They want the Americans to do that. They want the world to do that.

           Liz Claman: But they won’t let Google in.

           Keith Krach: Yeah, they don’t they don’t let Google in, they don’t let Facebook in, they don’t let
           Twitter in, but they sure use them. They’re their embassy here sure uses them. So, you know, it’s a
           one way street. I think there’s a magical and a fair thing in terms of reciprocity.

           And I really salute this administration for putting the foot down because it’s been that one way street.

           Liz Claman: Mr. Under Secretary, thank you very much for joining us. Good to see you. In fine
           weather there at the White House, Keith Krach, thank you so much.




                                              “The most important things in life are not written in a book”
                                                                                 --Mama Krach


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